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                               UNPUBLISHED

                   UNITED STATES COURT OF APPEALS
                       FOR THE FOURTH CIRCUIT


                               No. 16-4621


UNITED STATES OF AMERICA,

                Plaintiff - Appellee,

          v.

JOSHUA CLAYTON BRADY,

                Defendant - Appellant.



Appeal from the United States District Court for the Eastern
District of Virginia, at Richmond.     John A. Gibney, Jr.,
District Judge. (3:13-cr-00127-JAG-1)


Submitted:   March 23, 2017                    Decided:    March 30, 2017


Before WILKINSON, TRAXLER, and SHEDD, Circuit Judges.


Affirmed by unpublished per curiam opinion.


Geremy C. Kamens, Federal Public Defender, Patrick L.              Bryant,
Appellate Attorney, Mary E. Maguire, Assistant Federal              Public
Defender, Alexandria, Virginia, for Appellant.    Dana J.          Boente,
United States Attorney, Michael C. Moore, Assistant                 United
States Attorney, Richmond, Virginia, for Appellee.


Unpublished opinions are not binding precedent in this circuit.
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PER CURIAM:

       The district court revoked Joshua Clayton Brady’s probation

and   sentenced       him   to    30    months’      imprisonment         with    6    months’

supervised release.          Brady appeals.            For the following reasons,

we affirm.

       We will affirm a revocation sentence if it falls within the

statutory      maximum      and    is    not       plainly    unreasonable.             United

States v. Padgett, 788 F.3d 370, 373 (4th Cir.), cert. denied,

136 S. Ct. 494 (2015).              Under this standard, we first consider

whether        the     sentence         is     procedurally          or     substantively

unreasonable.          United States v. Crudup, 461 F.3d 433, 438 (4th

Cir. 2006).          A revocation sentence is procedurally reasonable if

the district court considered the policy statements in Chapter

Seven of the Sentencing Guidelines Manual, the policy statement

range, and the 18 U.S.C. § 3553(a) (2012) factors identified in

18    U.S.C.    § 3583(e)        (2012).       Padgett,       788    F.3d    at       373.   A

sentence is presumed substantively reasonable if it falls within

the policy statement range.                  Id.    “Only if we find the sentence

unreasonable must we decide whether it is plainly so.”                                  United

States v. Webb, 738 F.3d 638, 640 (4th Cir. 2013) (internal

quotation marks omitted).

       On appeal, Brady argues that the district court imposed a

plainly     unreasonable          sentence          because    the        district       court

undervalued his policy statement range, rejected the parties’

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recommended sentence without adequate explanation, and imposed a

sentence greater than necessary by giving insufficient weight to

certain § 3553(a) factors.          The record, however, shows that the

district    court    evaluated      the       policy    statement         range,   the

parties’ recommendation, and all the relevant § 3553(a) factors.

        In light of those factors, the district court imposed a

reasonable sentence.           We therefore affirm the district court’s

order.     We dispense with oral argument because the facts and

legal    contentions     are    adequately      presented      in    the     material

before    this   court   and    argument      would    not   aid    the    decisional

process.

                                                                             AFFIRMED




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